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 JPMorgan Chase Bank, N.A.
                                                                  C ERKS OFFICE
PO Box 183164
Columbus, OH 43218-3164                                               -9     I: 9


       UNITED STATES DISTRICT COURT
       1 COURTHOUSE WAY SUITE 2300
       BOSTON, MA 02210




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                                         UNITED STATES DISlRICT COURT
                                          DISTRICT OF MASSACHUSETrS

        UNITED STATES OF AMERICA,                              )
                                                               )
                   Plaintiff,                                  )
                                                               )
                           V.
                                                               )
                                                               )
        SALLY~ANN JOHNSON,                                     )
                                                               )     CourtNo. J,: 17-CR-10265-001-DJC
                   Defendant,
                                                               )
                           and                                 )
                                                               )
        JPMORGAN CHASE BANK, N.A.                              )
                                                               )
                   Garnishee.                                  )

                                           ANSWER OF THE GARNISHEE


       7 P.Moye:i-\             CWtz.   /~~A, being duly swom deposes and says:
                           {Affiant)

       IF GARNISHEE JS AN INDIVIDUAL;

               Thal he/she is Garnishee herein doing business in the name of
                                        /1,//vf
                          (State full name and address of business)

       IF GARNISHEE IS A PARTNERSHIP:

               That be/she is a member of             /1//t/1 ,a partnership which Garnishee is a partner.
       IF GARNISHEE IS A CORPORATION:
                                        -p,,-,t 9        C k-s.e l&c,"' le. .,,v,4
               That he/she is the .J                rfl>" (State official title) ofGamishec,

               1   corporation, organized under lhe laws of die State of_~_-c
                                                                           -"'-?!{:'S
                                                                                ""'""'"_ _ _ _ __

          On        J<.A.,._<_   a)                     2o_lil_. Garnishee wu served with the Writ of
       Garnishment.

                                                                                                                 c-
                                                                                                              -,.-
                                                                                                               _:. -C.l)       .0   z
                                                                                                             u:•-          ~
                                                                                                                                    C")
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                                                                                                             =--12"n                m
Disclaimer:                                                                                                  -~--.;         I       :::u.,,
                                                                                                             -·;.u                  ;;,;:;;=
These responses are based upon a search of
data contained in JPMorgan Chase's
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                                                                                                                           --0
                                                                                                                                    cnm
                                                                                                             ~ a           -0       00
centralized customer identification and account                                                              >                      "Tl
                                                                                                             ~)co__
infonnation system. That system may not                                                                      ?;, ::;.:)    -..      -n
                                                                                                                                    (")
necessarily capture all relevant infonnation                                                                      -I       :--.>    m
                                                                                                                           0
concerning the judgment debtor(s) or accounts.
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   l. Have there been previous garnishments in effect?                   Yes          No :£
       If the answer is yes, describe below. _ _ _ _ _~
                                                      __                    0_v4
                                                                              _________

   2. The Garnishee has custody, control, or possession of the following property (non•

       earnings), in which the Debtor maintains an interest, as described below:

                  Description ofProperty                   Appr0%imale          Description ofDebtor's
            (include fall name(s) on a&COU'fll.r)             Ya/ue              Interest in Property

       l.         ./V/_A A                 CCc,~ ;k            c {o 5 ec:f!. _ _ _ __
       2.
       3.
       4.


   3. Garnishee anticipates owing to the judgment-debtor in the future the following amounts:

                                Amount                                   E.sli111/lte date or Period Due
                  s____
                    /V/t4_
       2.         s_____
       3.         s______
       4~         $_ _ _ __

       The Garnishee mailed a copy of this answer by first-class mail to: (1) Sally Ann Johnson

(2) Assistant U.S. Attorney Brendan T. Mockler.                                                    :J(zf~
                                                                                                              AntenioRV.zquez
                                                               ~                CHASE:ANK,N;
                                                                Garnish~        /4                           Doc Revie-tv Sr Spooialiat II
Subscribed and sworn to before me this..)_ day                   of__.\._..}_u__,7~-~:,.._~,""'~"--7/.
                                                                                                   ~-·
                             /                                  Notary Public              "?
My Commission expires:d,..--JJ              / J-0
                                                                                          State of Texas
                                                                                         County of Bexar
                                                                                       Physically Appeared
                 ,,,, p.Y ·Pu   ❖.
              · -~o';
                  ~•
                     *•'"'•,:st'
                             •0-
                                ~ Notary Public       State of Texas
                =~:
                -=-~·.. .:~:::
                                                  I

                          !.;.: Comm . Expires 08-25-2020
                 ~i'i·ot1~ Notary ID 130795718
               '· '''""'' ·------ ---------
